EXHIBIT B
                                                                                                                                  MAR
                                                                                                                                    O5 2024
                                        IN THE WYOMING CIRCUIT COURT
                                SEVENTH .ITJDICIALDISTRICT, NATRONA COUN~lRCUITCOURT OF SEVENTH JUDICIAL
                                  I 15 N CENTER ST SUITE 400 CASPER, WY 82601 DISTRICT, NATRONA COUN1Y
                                                         '                   '                                  By: L Kitting r
 ROCKY MOUNTAIN RECOVERY SYSTEMS, INC.,                                                                              ........,=-'--'-"'•"------c-.~-E,-,K-----

 A Wyoming Corporation,
                                                           . if.J(f,Civil Action No: CV-2023-3493
                                                       Pl amh,
 -vs-
                                                                                              DEFAULT JUDGMENT
                                                                                             AGAINST~
                                                    Defendant,
  0          REDACTED                                                                          and~
                                 Co-De endanl.
      THIS MATTER having come before the Court upon Plaintitrs application for Default Judgment and
the Court having reviewed the file and being otherwise fully advised on the premise, finds:
I. Plaintiffs complaint was for a sum certain or a sum that can be made certain by computation.
2. A default has been entered in this matter against ~and~
                                                    REDACTED
3. The Defendant(s), ~and                    F                                              are jointly and severely liable for the
   following claim(s):

      ORIGINAL                             I PRINCIPAL         I INTEREST             I COLLECTION I INTEREST I BREACH                I PAYMENTS
      CREDITOR                             I                   I                      I     FEE      I   RATE    I      DATE          I RECEIVED
      ----------------------------+----------+----------+---------                                 +--------+--------1----------
      BROOK TROUT DENTAL,          PC.     I     $1240.001             $283.981           ~ 2H 105-08-231                      $0.00
      ----------------------------+----------+----------+--                               /_jX/;,:,.,,,J k.1a;1:;~_,,.,.j,//
                                                                                                                         1.,,,/,-/cf))N!/-:W
4. FEES: The following fees and costs incurred are awardable to the plaintitl\_.J 1;,/f,t/' fo"f'J                                         ''o/,.fj' 1 /1"4",,j
                     FEE                AMOUNT         TOTALFEES
        Court Fi line. Fee           $70.00
        Service of Process Fee       $ 70.00                 $440.00
        Attomev Fee                  $ 300.00

      NOW THEREFORE, IT IS HEREBY ORDERED, AJUDGED, AND DECREED that Judgment
                                                               REDACTED                             REDACTED
is entered jointly and severally against R                                        ~   nd F                           for CLAIM and FEES




 Plaintiff's file No.: 281420




EXHIBIT B                                                                                                                              Page 1 of 6
                                           mTHEWYOWNGaRCUITCOURT
                              SEVENTH .RJDICIAL DISTRICT, NATRONA co~CUIT
                                                                                                    ~
                                                                                   COURTOF SEVENTHJUDICIAL
                                115 N CENTER ST, SUITE 400, CASPER, WY 82601DISTRICT,NATRONACOUNTY
                                                                                                              OMAR~~~           ~
                                                                                                    By:   L Klttjnqer
                                                                                                                    CLERK
  ROCKY MOUNTAIN RECOVERY SYSTEMS, INC.,
  A Wyoming Corporation,                                               Civil Action No: CV-2023-3391
                                                        PlainJiff,
  -vs-
                                                                                    DEFAULTJUDGMENT
                                                                                              REDACTED
           REDACTED
                                                                                   AGAINST~
                                                     DefendanJ.

     THIS MATIER having come before the Court upon Plaintiff's application for Default Judgment and
the Court having reviewed the file and being otherwise fully advised on the premise, finds:
1. Plaintiff's complaint was for a sum certain or a sum that can be made certain by computation.
                                                                            REDACTED
2. A default has been entered in this matter against~
                            REDACTED
3. The Defendant(s), H                  s liable for the following claim(s):

     ORIGINAL                                 [PRINCIPAL       I INTEREST   ICOLLECTIONIINTERESTI         BREACH I PAYMENTS
     CREDITOR                                 I                I                FEE      I  RATE     I     DATE  I RECEIVED
   ----------------------------+----------+----------+----------+--------+--------1----------
     CASPER MEDICAL
                  IMAGING, PC I      $130.491      $13.251      $0.001     7%      108-21-221      $50.00
   ----------------------------+----------+----------+----------+--------+--------+----------
   CENTRAL WYOMING SKIN CLINIC  I    $356.001      $79.631  ~I             21%     107-22-221       $0.00
   ----------------------------+----------+----------+--     /4 -)::;.~//   J- ;;,,co,11.rc/.,,,,v~Je ""/f'/"
4. FEES: The following fees and costs incurred are awardable to the plaintiff:         .            .:f Y~ /':I_-.a,#
                                                                       (1/; ,,, t, f 1 "'"Jq J It ,,.,         ,I_j     /!!!.._'
            FEE            AMOUNT         TOTALFEES
       Court Filim1.Fee            $ 70.00
       Serviceof ProcessFee        S 50.00                   $420.00
       AttorneyFee                 S 300.00


                                REDACTED




                                                  REDACTED




Plaintiff'sFIieNo.: 275624




EXHIBIT B                                                                                                         Page 2 of 6
                                      IN THE WYOMING CIRCUIT COURT
                               SEVENTH JUDICIAL DISTRICT, NATRONA CO                                                             MAR
                                                                                                                                   O5 2024
                                 115 N CENTER ST, SUITE 400, CASPER, WY 826
 ROCKY MOUNTAIN RECOVERY SYSTEMS, INC.,                                                                           CIRCUIT COURT OF SEVENTH JUDICIAL
                                                                                                                  DISTRICT, NATRONA COUNTY
 A Wyoming Corporation,
                                                                  . ;,r
                                                              Plaintw,        Civil Action No: CV-28!1 ~'llllsaec ciERK
                                                                                                                                       •
 -vs-
            REDACTED                                                                              DEFAULT JUDGMENT
 ~                                                                                               AGAINST~
                                                                                                                 REDACTED

                                                          Defendant,                                        REDACTED
           REDACTED                                                                                 and
 ~
                                Co-De endant.
     THIS MATTER having come before the Court upon Plaintiffs application for Default Judgment and
the Court having reviewed the file and being otherwise fully advised on the premise, finds:
1. Plaintiffs complaint was for a sum certain or a sum that can be made certain by computation.
                                                                                      REDACTED                        REDACTED
2. A default has been entered in this matter against ~and
                              REDACTED            REDACTED
3. The Defendant(s), itllllllllllllland                                                are jointly and severely liable for the
   following claim(s):

     ORIGINAL                                  !PRINCIPAL         I INTEREST           ICOLLECTIONIINTERESTI               BREACH I PAYMENTS
     CREDITOR                                                     I                    I   FEE      i RATE             I    DATE  I RECEIVED
     ----------------------------+----------+----------+----------+--------+--------,----------
     JESSICA       L CASSITY,    DDS           I     $384.651               $77.591        ~I                  21%     110-26-211            $0.00
     ----------------------------+----------+----------+-·,;,;_-~c;:~,lfcl,,t&;~,.r~,~~~ife
4. FEES: The following fees and costs incurred are awardable ?o"thepla1~t1ff:                                                       .:f·Yt>··/Y- ,J-~tf'
                      FEE              AMOUNT                 TOTALFEES
                                                                                                       Ofatlft,      ·l-f M''J e,-.lk ~/ ~~ry;;;
        Court Filin2Fee
        Serviceof ProcessFee
        AttorneyFee
                                    S 70.00
                                    S 75.00
                                    S 300.00
                                                               $445.00                                                                     ~-
                                                                 REDACTED                           REDACTED




                                               REDACTED

                                                   REDACTED




Plaintiff's File No.: 285809

  EXHIBIT B                                                                                                                       Page 3 of 6
                                                                                                                  MAR18 2024
                                  IN THE WYOMINGCIRCUITCOURT         CIRCUIT COURT OF SEVENTH JUDICIAL
                             SEVENTHJUDICIALDISTRICT,NATRONACOUNT'VrsTRICT, NATROt;AC0UNlY
                                115 N CENTER ST, SUITE 400, CASPER, WY 82601 By: L Kitting"                                c,F'<K
 ROCKY MOUNTAINREcOVERY SYSTEMS,INC.,
 A Wyoming Corporation,
                                                               . ;1; Civil Action No: CV-2023-3290
                                                            Plam11,u,
 -vs-



 ---     REDACTED



        REDACTED
                                                        Defendant,

                                                  Co-De endant.
                                                                                      DEFAULTJUDGMENT
                                                                                      AGAINST
                                                                                         and
                                                                                                   REDACTED

                                                                                               REDACTED




   THIS MATTERhaving come before the Court upon Plaintiff's application for Default Judgment and
the Court having reviewed the file and being otherwise fully advised on the premise, finds:
1. Plaintiff's complaint was for a sum certain or a sum that can be made certain by computation.
                                                                           REDACTED              REDACTED
2. A default has been entered in this matter against
                                  REDACTED                     REDACTED
3. The Defendant(s), ~and                               J                 are jointly and severely liable for the following
   claim(s):

   ORIGINAL                                  !PRINCIPAL         I INTEREST ICOLLECTIONIINTERESTI BREACH I PAYMENTS
   CREDITOR                                  I                  I          I   FEE    I RATE I DATE I RECEIVED
   ----------------------------+----------+----------+----------+--------+--------1----------
   WYOMINGSURGICAL ASSOCIATES I  $6197.001 $1483.201           $0.001   7%  102-27-201   $0.00
   ----------------------------+----------+----------+----------+--------+--------+----------
   CASPER MEDICAL IMAGING, PC I    $45.621   $12.761           $0.00t   7%  103-09-201   $0.00
   ----------------------------+----------+----------+----------+--------+--------+----------
   CASPER MEDICAL IMAGING, PC I   $173.991   $49.051           $0. 00 I 7%  I 02-27-20 I $0.00
   ----------------------------+----------+----------tz--------+--------+--------+----------
   wYoMING SURGICAL ASSOCIATES I $3220.001 $2578.551'11-$JJ?1..e()I     21% 110-23-201   $0.00
   ----------------------------+----------+----------+----------+--------+--------+----------
4. FEES: The following fees and costs incurred are awardable to the plaintiff:
               FEE                   AMOUNT                 TOTALFEES
    Court Filimr Fee              S 70.00
    Service of Process Fee        S 75.00                    $445.00
    Attomev Fee                   S 300.00

   NOW THEREFORE,IT IS HEREBY ORDERED,A.JUDGED,AND DECREED that Judgment
                                                              REDACTED                REDACTED
is entered jointly and severally against ~and                                  ~for               CLAIM and FEES in the
amount of$ljln.½7            bearing interest at the rate of 10% per year plus future court and attomeyJ'
              I'"' I~ OS'./ ?'1(                                                                               -'d. -at~
accrued by Plai~titTand allowed by law.                                                                      //Jr,,,--
                                                                                                                     ......
                                                                                                                       ,.~
   DATEDth1s~dayof                    MtJ/clJ .2~'1.                        BYTHECIRCUITCOURT               /\(           tfrA-TEO!J.~
                                                                                                            \::~·~I
                                                                                                                  ...
                                                                                                            ' .. -: •'~             ,,,
                                                                                                                                    :..l,.




                                       REDACTED

                                             REDACTED




EXHIBIT B                                                                                                          Page 4 of 6
             REDACTED




  ~----
                                                    Defendant,              I JUDGI\-1ENTON THE PLEADINGS                   REDACTED
                       -----------                               ____   _c_   ___       _:;;.r:::..:..:_=~


          THIS MA TIER having come before the Court on the __ day of ______
                                                                                                    2024,
 pursuant to Plaintiff's motion for judgment on the pleadings, and the Plaintif
                                                                                 f having appeared through its
 attorney, and the Defendants having (please circle one) appeared pro se
                                                                            / failed to amzear and the Court,
 after having reviewed the file and heard arguments, finds that Plaintiff
                                                                          is entitled to a judgment as a
 matter oflaw.

          NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED
                                                                                                                  AND DECREED that
 Judgment be, and hereby is, awarded to the Plaintiff: and against C                                         REDACTED
                                                                                                                               in the amount of
~ calculated as follows:
l'5P70,?I
             e_. a. Principal of                                        $                2,746.21 /
                                                                                                                   /FoundUnconscionable
                                                                                                                        r
                 1~v      b.         Contractual Collection Fee of
                                                                                            jfJB:;1fl
             1
                                                                        $                          5 §40-14-508
                          b.         Interest to date of                $           .       1919.60
                          c.         Contractual Attorney Fees of       $     '/Jt't' ~ \ PlaintiffmayRequestHearing
                          c.         Process Server fees                $       c? 35.00
                          d.         Court filing fee of                $                      70.00
                          e.         Partial Payment of                 $                    (00.00)
together with interest on the unpaid judgment at the statutory rate of I 0%
                                                                            per annum and future costs as
may be allowed by law.




Copies to:
                                             REDACTED




Plaintiffs number 249980.rmr




EXHIBIT B                                                                                                                              Page 5 of 6
                                                                                                                                                              b               ~


                                                                                                                                 I~
                                                                                                                                 II              II




                                            IN THE WYOMIJliGCIRCUIT COURT                   UAPR 2 5 1011
                                     SEVENTH JUDICIAL DISTRICT, NATRONA COUNTY
                                       115 N CENTER ST, SUITE 400, CASPER, WY 82601 CIRCUIT COURT OF SEVENTH JUDICIAL
                                                                                                                                 D:STRICT NATRO/\J/\ COUNTY
   ROCKY MOUNTATN RECOVERY SYSTEMS, INC.,                                                                                        By: ...!..J.ill:li•iqcr
                                                                                                                                                      ~--.::;-;:-;:;:------
   A Wyoming Corporation,                                                                                                                                      CLERK
                                                                               . ,r.(f, Civil Action No: CV-2024-0652
                                                                           Plazntl_J
                                                                                   1,
   -vs-
               REDACTED                                                                                     DEFAULT JUDGME~T
                                                                                                                           REDACTED
                                                                                                           AGAl~STE
                                                                       Defendant,                            andC     REDACTED
                REDACTED


                                   Co-De endant.
       THIS MATTER having come before the Court upon Plaintiffs application for Default Judgment and
  the Court having reviewed the file and being otherw-isefully advised on the premise, finds:
  I. Plaintiffs complaint was for a sum certain or a sum that can be made certain by computation.
                                                                                                    REDACTED                              REDACTED
  2. A default has been entered in this matter against E                                                          and C
                              REDACTED                REDACTED
  3. The Defendant(s),                    and C                                                         are jointly and severely liable for the
     following claim(s):

        ORIGINAL                                            !PRINCIPAL I INTEREST ICOLLECTIONIINTERESTIBREACHI PAYMENTS
        CR::Dl'l"CJH                                                                                      FEE     I   :iATE           I    :-)ATE          I RECE1'✓1'D
                     -------------------------------                            •    -------------------+--------+--------1----------
        OL c:=TY DENTA::..                                           $279.30:              $33.67         ~51           ;    %        101 (Vi-2:!I                      '.iJ.0:.l
        ----------------------------+----------+----------+---------s=!--------+----------

  4. FEES: The following fees and costs incurred are awardable to the plaintjff: ::)con~r.·ionabl8
                                                                                                                Founcun                   ..lv
                        FEE                        AMOUNT                  TOTAL FEES
          Court Filing Fee                       s 1o_oo                                                        §40-14-508
          Service of Process Fee                 $ 75.00                    $445.00
          AttomevFee                             $ 300.00                                                       PlaintiffmayRequest H.,Png
        NOW THEREFORE, IT IS HEREBY ORDERED, A.JUDGED, Al\'D DECREED that Judgment
                                                                                REDACTED                          REDACTED
  is entered jointly and severall against E                                                         and C                                 for CLAIM and FEES
//~ --JS-i ~ }-                              •      .       . .
•· m the fimount of "'°'-~7                  beanng mterest at the rate of 21.00% per year plus future court and attorneys'




                                                            REDACTED

                                                                REDACTED




   Plaintiff's File No.: 291305
    EXHIBIT B                                                                                                                                          Page 6 of 6
